




Dismissed and Memorandum Opinion filed July 13, 2006








Dismissed
and Memorandum Opinion filed July 13, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00497-CR

____________

&nbsp;

ISAAC MARTINEZ,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
232nd District Court

Harris County, Texas

Trial Court Cause No. 1054224

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of assault.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, the trial court sentenced appellant
on May 1, 2006, to confinement for two years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
13, 2006.

Panel consists of Justices Anderson, Edelman, and
Frost.

Do Not Publish C Tex. R. App. P.
47.2(b)





